         Case 1:20-cv-06421-JPO-SLC Document 7 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JOSUÉ PAGUADA, on behalf of himself and all others
similarly situated,

                              Plaintiffs,

         -v-                                           CIVIL ACTION NO.: 20 Civ. 6421 (JPO) (SLC)

                                                              ORDER TO INITIATE DEFAULT
MODERN MARKETING CONCEPTS, INC.,                                    PROCEEDINGS

                              Defendant.



SARAH L. CAVE, United States Magistrate Judge:

         The Complaint in this action was served on Defendant Modern Marketing Concepts, Inc.

on August 26, 2020, with Defendant’s Answer due on September 16, 2020. (ECF No. 6). No

Answer having been filed on the docket, Plaintiff is hereby ORDERED to request a Certificate of

Default from the Clerk of Court and to file a Motion for Default Judgment in accordance with the

Individual Practices of the Honorable J. Paul Oetken, Rule 55 of the Federal Rules of Civil

Procedure, and S.D.N.Y. Local Rule 55 by no later than Monday, November 2, 2020.


Dated:         New York, New York
               October 19, 2020

                                                     SO ORDERED



                                                     _________________________
                                                     SARAH L. CAVE
                                                     United States Magistrate Judge
